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   RECKITT BENCKISER, LLC,
                   Plaintiff,                Case No. 15-cv-02155 (RMB) (JS)
                                             (Consolidated)
               v.
                                             (Filed Electronically)
   AMNEAL PHARMACEUTICALS LLC,
   et al.,
                 Defendants.
              DEFENDANTS’ REPLY IN SUPPORT OF THEIR
                  MOTION FOR ATTORNEY’S FEES
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       Reckitt’s lengthy 40-page opposition brief does not respond to the

 fundamental bases for Defendants’ motion for attorney’s fees—Reckitt’s

 misconduct during the litigation and its insistence on pushing its meritless

 infringement claims to trial after the Court adopted the Aurobindo claim

 constructions. Instead, Reckitt focuses on events and rulings that preceded the

 Court’s claim construction order and, thus, are simply not relevant to Defendants’

 present motion. Reckitt also continues its pattern of obfuscation and

 mischaracterization.

       For example, Reckitt spends considerable ink on the Court’s rejection of

 Defendants’ motion for judgment on the pleadings and motion for summary

 judgment, both of which preceded the Court’s claim construction order by many

 months. See D.I. 233 at 11-16. These events are not pertinent to Defendants’

 argument that Reckitt should have dropped this case after the Court adopted Judge

 Stark’s Markman ruling. Further, those motions centered on the applicability of the

 ’252 patent disclaimer, not on whether Defendants’ products infringed under the

 Aurobindo claim construction. Thus, those earlier motions provide no insight as to

 whether Reckitt’s push to trial was reasonable once this Court adopted the

 Aurobindo claim constructions.

       Nor is it relevant that Judge Stark and the Federal Circuit denied

 Aurobindo’s motion for attorney’s fees, which is the centerpiece of Reckitt’s



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 opposition. See D.I. 233 at 19, 22-24, 28, and 38-40. Aurobindo moved for an

 award of attorneys’ fees from the inception of Reckitt’s case, arguing that Reckitt

 should never have filed suit and should pay its fees, in part, to discourage brand-

 drug companies from filing frivolous suits to keep generic competitors off the

 market. Judge Stark rejected this argument because he found that Reckitt

 performed a sufficient investigation of Aurobindo’s proposed product, presented

 claim construction arguments that were not unreasonable, and withdrew the ’252

 patent from the case after determining it no longer had a good-faith basis to assert

 it. See Reckitt Benckiser LLC v. Aurobindo Pharma Ltd., No. 14- 1203, 2017 WL

 4613643 (D. Del. Oct. 16, 2017) (“Aurobindo III”). Judge Stark also noted that

 generic competitors were already in the market when Reckitt sued Aurobindo.

 Thus, “[t]he court [found] no basis . . . to conclude that Reckitt chose to file a

 frivolous case to delay entry of an additional generic manufacturer.” Aurobindo III,

 2017 WL 4613643 at *3. None of these findings undercut Defendants’ argument

 here because Defendants seek fees only from the adoption of Judge Stark’s claim

 construction through this Court’s final judgment.

       Finally, Defendants’ decision to forego the filing of a second summary-

 judgment motion after Judge Stark granted Aurobindo’s summary-judgment

 motion of non-infringement does not excuse Reckitt’s continued prosecution of

 claims on which it could not possibly prevail after the Court’s Markman ruling.



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 Reckitt had (falsely) told the Court that it had structural evidence of non-

 infringement in this case that was not available to it in the Aurobindo case.1

         Defendants chose to address this allegedly new and different evidence at

 trial, instead of risking the possibility that this alleged evidence would create a fact

 issue that would preclude summary-judgment of non-infringement, particularly

 where the expirations of Defendants’ 30-month stays were approaching. And, of

 course, once at trial, Defendants’ counsel was obligated to zealously represent each

 of their clients by putting on experts and filing pre-trial motions. None of this

 changes the fact that Reckitt should have dropped this case after the Court

 construed the claims and it became obvious that Reckitt could not prove that

 Defendants’ ANDA products had two distinct formulations.

         By the time of the March 15, 2017 teleconference with the Court, Reckitt

 had already lost in Aurobindo, its third losing case involving generic single

 formulation matrix tablets. Judge Stark had rejected Reckitt’s proposed

 construction of “portion” and concluded that Reckitt’s claims, like the ’252 patent

 claims the Federal Circuit construed in Watson, require two distinct formulations

 of guaifenesin, not just the single extended-release formulation present in

 Aurobindo’s matrix tablets. In so ruling, Judge Stark rejected the same argument

 the Federal Circuit in Watson and the district court in Perrigo had rejected


 1
     See Aurobindo Fees Tr. at 26:4-24, and 28:4-22 (Conroy Decl. Ex. D).

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 previously, namely, the guaifenesin on the surface of Aurobindo’s tablets

 constituted a distinct immediate-release portion. Thus, once this Court adopted

 Judge Stark’s claim constructions, Reckitt should have conceded that it had no case

 here, and stipulated to non-infringement. Indeed, this was exactly the point Judge

 Prost made when she stated, “it might be fair to say that [Reckitt] should have

 known it [had no chance of success] after claim construction.”2

       For all of these reasons, as well as the reasons set forth in Defendants’

 moving brief, Defendants’ motion for attorneys’ fees should be granted.

 I.    Reckitt misled the Court at the March 15 teleconference in order to
       persuade the Court to conduct an unnecessary trial on the merits.

       During the March 15, 2017 teleconference, this Court posed a simple

 question to Reckitt: “assuming I adopt and am persuaded by [Judge Stark’s] claim

 constructions, what at the end of the day does it mean for my cases to go forward?”

 See March 15, 2017 Hearing Transcript, 4:6-8 (D.I. 226-15, Conroy Decl. Ex. A).

 The Court further explained, “[a]ll I’m interested in trying at this juncture is a case

 that receives additional evidence that Judge Stark did not have. . . .” Id. at 27:4-17.



 2
  See Transcript for Reckitt Benckiser LLC v. Aurobindo Pharma Ltd., Appeal No.
 17-1895, at 14:16-19, (D.I. 226-20, Conroy Decl. Ex. F.) Though Chief Judge
 Prost made this statement during oral argument on Aurobindo’s appeal, it applies
 here with equal, if not greater force. Unlike Aurobindo’s fees motion, which
 sought an award of fees from the inception of Reckitt’s case, Defendants’ motion
 seeks an award from the date of the Court’s claim construction order, when it
 should have been obvious to Reckitt that it had no case.

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       Reckitt’s response to the Court’s straight-forward question was less than

 candid, to say the least. Reckitt insisted that trial should proceed because it had

 structural data allegedly showing that Defendants’ ANDA products had two

 distinct portions of guaifenesin. Reckitt further claimed that such structural

 evidence was not available to it in the Aurobindo case. Id. 18:19-23 ( “Presumably

 in the Aurobindo case the structural data wasn’t available to the plaintiffs, that the

 Aurobindo tablet didn’t have the appropriate structure to make that argument,

 because I’m sure the counsel would have made that argument.”). But Reckitt’s

 statement to the Court was simply not true, as Defendants explained in their

 opening brief. See D.I. 226-1 at pp. 12-14. Reckitt, in fact, had the very same type

 of Raman evidence about Aurobindo’s tablet that it presented at the trial of this

 case. But Reckitt chose not to rely on Raman data in Aurobindo because it “showed

 nothing. . . . [and] also in no way informed the [infringement] issues on summary

 judgment after—in particular after the claim construction order when Your Honor

 found there was no spatial requirement to the ’821 and ’032 patent.” See

 Aurobindo Fees Tr. at 28:19-22 (D.I. 226-18, Ex. D to Conroy Decl.).

       Reckitt seeks to excuse its misrepresentations about the available evidence

 in Aurobindo with its glib response that “simply put” these were “different tests, on

 different products, with different results.” See D.I. 233 at 22. But this smokescreen

 does nothing to bolster Reckitt’s position. At the end of the day, Reckitt does not



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 dispute that it performed the very same type of Raman analysis on Aurobindo’s

 ANDA product as it performed on Defendants’ ANDA products. Reckitt also does

 not dispute that it failed to inform the Court of this fact at the March 15

 conference. Finally, while the details of Reckitt’s Raman maps in Aurobindo may

 have differed to some extent from the Raman maps that Reckitt presented at the

 trial of this case, Reckitt does not and cannot explain how these alleged differences

 made the Raman maps in this case more probative of infringement than the maps

 that “showed nothing” in Aurobindo.

       In this regard, Reckitt’s suggestion in a footnote that the Raman evidence in

 Aurobindo only related to the ’252 patent (D.I. 233, n. 6 and n. 8) is entirely

 disingenuous, and again, obfuscates the issue. Though, Reckitt initially performed

 its Raman analysis in both cases to determine whether or not to drop the’252

 patent, it ultimately chose to rely on the Raman analysis in this case only to

 establish infringement of the ’821 and ’032 patents. And Reckitt did so after

 concluding in Aurobindo that the Raman analysis “in no way informed the

 [infringement] issues on summary judgment” “in particular” under the

 constructions of the ’032 and ’821 patents, not the ’252 patent. See Aurobindo Fee

 Tr. at 28:19-22 (D.I. 226-18, Ex. D to Conroy Decl.).

       Reckitt also misleadingly suggests that it did not “assert that it did not

 conduct structural testing on Aurobindo’s product.” See D.I. 233 at 23, n.8. This is



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 another obfuscation. Reckitt concedes that its counsel told the Court “in

 Aurobindo, structural data ‘wasn’t available’ in the evidence.” Id. Critically,

 however, Reckitt failed to tell the Court that this Raman data “‘wasn’t available’ in

 the evidence” because Reckitt had concluded that it was not probative at all to

 infringement under the ’821 and ’032 patents after Judge Stark’s claim

 constructions. Id. Reckitt offers no excuse for omitting this very material fact.

       If Reckitt had already decided that Raman data had no evidentiary value

 with respect to proving infringement of the ’032 and ’821 patents in Aurobindo,

 which involved the same infringement issues as this case, then it was wrong for

 Reckitt to argue that the same type of Raman evidence was grounds for proceeding

 with a trial here. By failing to tell the Court about its decision not to rely on Raman

 testing in Aurobindo, rather than letting the Court believe it was not available at

 all, Reckitt prevented this Court from making an informed decision on whether and

 how to proceed with this case. Reckitt’s lack of candor played a significant role in

 pushing this case to an unnecessary trial and warrants an award of fees.

 II.   Reckitt intentionally mischaracterized Judge Stark’s claim construction
       ruling to excuse its decision to proceed to trial.
       As Defendants explained in their opening brief (D.I. 226-1 at 19-22),

 Reckitt’s infringement case was based, in part, on its demonstrably false argument

 that Judge Stark’s “distinct” construction in the context of the ’821 and ’032

 patents differed substantively from the Watson court’s “discrete” construction in


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  the context of the ’252 patent. Id. Reckitt tries to defend this dubious argument in

  its opposition brief by mischaracterizing Defendants’ position.

        First, Reckitt incorrectly suggests that Defendants are arguing that Watson

  and Perrigo were dispositive of the outcome of this case. See D.I. 233 at 16. But

  Defendants did not make this argument in their brief. See D.I. 226-1 at 18-19.

  Instead, Defendants pointed to Watson and Perrigo as corroboration for the

  proposition that Reckitt should have known its infringement argument about

  guaifenesin on the surface of a single formulation matrix tablet was doomed to fail

  here because that same argument had already been rejected in those cases. And

  then, Judge Stark had rejected Reckitt’s infringement argument for a third time in

  Aurobindo only a week before the March 15 teleconference with this Court.

        Reckitt also spends numerous pages arguing that its proposed claim

  constructions were reasonable. See D.I. 233 at 27-31. But again, Reckitt

  mischaracterizes Defendants’ position. Defendants’ fees motion is not based on the

  argument that Reckitt’s claim constructions were unreasonable. Instead, like Chief

  Judge Prost, Defendants contend that it was unreasonable for Reckitt to continue

  this litigation after the Court rejected Reckitt’s claim construction arguments and

  instead adopted Judge Stark’s Markman order.

        Defendants also contend that it was unreasonable for Reckitt to argue for the

  first time in Dr. Davies’s expert reply report that Judge Stark’s “distinct”



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  construction was substantively different from Watson’s “discrete” construction,

  which Reckitt had already conceded would end its case. See D.I. 233 at 17-18.

  Though Judge Stark’s claim construction ruling was a main focus during Markman

  briefing here, Reckitt never argued in any brief or supporting declaration that

  Judge Stark intended “discrete” and “distinct” to have different meanings. Id. In

  fact, this argument, which is directly contradicted by Judge Stark’s own words,3

  appeared for the first time in Dr. Davies’s reply expert report, which was served

  after the Court adopted Judge Stark’s claim constructions.

        Reckitt tries to justify its unreasonable interpretation of Judge Stark’s

  construction by pointing to this Court’s ruling that “distinct” and “discrete” have

  “somewhat different meanings.” See D.I. 233 at 2 and 18. But Reckitt takes the

  Court’s comments out of context. The Court was referring to unasserted dependent

  claim 3 of the ’032 patent, not independent claim 1, which was the claim that

  Judge Stark construed in his decision. See Reckitt Benckiser LLC v. Amneal

  Pharm. LLC et al., 276 F. Supp. 3d at 271-72. And neither Reckitt nor Dr. Davies

  were ever able to explain how “discrete” and “distinct” were different in the


  3
   As Defendants noted in their opening brief (D.I. 226-1 at 19), Judge Stark’s
  words were clear: “[i]n order to avoid confusion, however, the Court has (non-
  substantively) modified the Federal Circuit’s construction of “portion” by
  substituting “distinct formulation” for “discrete part of the product.” Aurobindo
  II, at fn. 5. This unequivocal statement was included within multiple paragraphs
  explaining how the Federal Circuit’s claim construction analysis of the ’252 patent
  was pertinent to Judge Stark’s constructions of the ’032 and ’821 patents.

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  context of claim 1. Finally, the Court’s comments about claim 3 were made in

  response to Reckitt’s argument under the doctrine of claim differentiation—an

  argument that had no impact on the case because claim 3 was never asserted.

        Reckitt also mischaracterizes Defendants’ argument that Reckitt made

  contradictory statements about the ’252 patent disclaimer. See D.I. 233 at 31-33.

  Reckitt confuses the issue by arguing that its position on the disclaimer has always

  been consistent and was “part of multiple reasons why the Court should not adopt

  Judge Stark’s claim construction.”4 Id. But Reckitt cannot escape the record, which

  shows unequivocally that Reckitt flip-flopped on this issue. Reckitt initially argued

  the Court should reject Judge Stark’s claim construction because he purportedly

  applied the ’252 patent disclaimer in his claim construction analysis. D.I. 91 at 13.

  But after the Court adopted Judge Stark’s Markman order, Reckitt abruptly

  reversed course and argued that Judge Stark did not apply the ’252 disclaimer. See

  D.I. 224 at 22-24. The Court can read Reckitt’s words for itself and see Reckitt’s

  change in position.




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   The reasonableness of Reckitt’s overall position on the disclaimer was dubious
  from the start. At the Federal Circuit, the Panel’s questions strongly suggested that
  the Panel believed the disclaimer had not been rescinded by the ’032 and ’821
  patentee. See Transcript for Reckitt Benckiser LLC v. Amneal Pharmaceuticals
  LLC, Appeal No. 17-2595, at 12:19-14:2; and 16:12-25 (D.I. 226-21, Conroy Decl.
  Ex. G.) (Judge Prost: “[I]n this case you had a disclaimer, vis-à-vis Watson, which
  arguably is pulled through to this child application.”)

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  III.   That this case went to trial and Dr. Davies provided extensive testimony
         does not mean that Reckitt’s infringement case was reasonable nor that
         a trial was warranted.

         Reckitt disputes Defendants’ argument that an award of attorney’s fees is

  appropriate here because Reckitt chose to proceed to trial with no real evidence of

  infringement. See D.I. 226-1 at 10-15. Reckitt’s main response to Defendants’

  argument is that Defendants would not have needed five experts at trial if Reckitt’s

  infringement theory was baseless. But that argument proves nothing.

         Dr. Davies testified about highly technical Raman testing, but his testing was

  flawed and unreliable, and he misrepresented what it showed. In order to make this

  apparent to the Court, each Defendant needed to call expert witnesses who

  understood Raman spectroscopy and image analysis. Also, they each needed to call

  formulation experts to explain that Defendants’ ANDA products are made from a

  single pharmaceutical formulation, not two distinct formulations, as the claims

  required. Reckitt apparently believes that Defendants should not have put on a

  defense at trial if they truly thought that Reckitt’s claims were baseless. But this is

  not how things work in our adversarial system where it is important to establish a

  record on which the Court and the Federal Circuit can base their decisions.

         There can be no doubt that Defendants’ expert testimony helped the Court

  understand the weaknesses in Dr. Davies’s testimony, which are noted in the

  Court’s opinion. See Reckitt Benckiser LLC v. Amneal Pharm. LLC et al., 276 F.



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  Supp. 3d at 275-287. Among other things, the Court was troubled by Dr. Davies’s

  concession that an “SR formulation could be transformed into an IR formulation

  simply by cutting off the original surface of the tablets.” Id. at 281. This admission,

  as the Court noted, should have ended the “inquiry as to whether Defendants’

  tablets have two distinct formulations necessary for a finding of infringement.” Id.

  That Reckitt pushed for a trial after Dr. Davies had conceded this point at his

  deposition several months earlier, underscores Reckitt’s unreasonable conduct and

  further supports Defendants’ motion for attorneys’ fees in this case. See Davies

  Dep. at 373:4-378:18 (D.I. 139-1 at 94-95).

        Reckitt also suggests that it was reasonable for it to proceed to trial because

  “Defendants’ motion [in limine] was denied.” See D.I. 233 at 13. But this argument

  is yet another obfuscation. The Court denied Defendants’ in limine motion as moot

  because it had already found that Dr. Davies was not a credible expert. See Reckitt

  Benckiser LLC v. Amneal Pharm. LLC et al., 276 F. Supp. 3d at fn. 15. Thus, the

  Court’s denial of Defendants’ in limine motion is irrelevant because it was not

  decided on the merits.

        Finally, Reckitt claims that Defendants must have believed that Reckitt’s

  case was reasonable because Defendants opted not to move for summary judgment

  on a collateral estoppel theory after Judge Stark granted summary judgment in

  Aurobindo. See D.I. 233 at 24. This argument is misguided.



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        Reckitt’s argument ignores or mischaracterizes the decision Defendants

  faced on March 15, 2017, when Defendants first raised the issue of collateral

  estoppel. At that time, the expiration of the 30-month stay was rapidly

  approaching. Indeed, the Court noted this, “[i]t seems to [the Court] that it is more

  expeditious for this Court at that juncture to hear that additional piece of testimony,

  to hear the defendants’ response to that additional piece of testimony through

  expert testimony or otherwise. . . .” See March 15 Status Tr. 24:12 – 25:17. The

  Court further warned, “there is likely to be an extension of the stay if I do not agree

  with the defendants’ position as to collateral estoppel.” Id.

        Defendants’ clients, like every generic company, wanted to launch their

  ANDA products at the earliest possible date. Had Defendants opted to move for

  summary judgment on a collateral estoppel theory, the Court could have extended

  the stay until the motion was resolved and, if necessary, the case was tried.

  Defendants chose to go to trial where they believed they would win decisively and

  expeditiously, not because they believed Reckitt’s position was reasonable.

  Reckitt’s argument also ignores the fact that Reckitt was the Plaintiff here. Reckitt

  had an obligation to reassess its case against Defendants after the Court adopted

  the Aurobindo claim constructions, particularly after Judge Stark granted

  Aurobindo summary-judgment of non-infringement. Reckitt also forgets that it had

  an obligation to be candid with the Court and Defendants when it claimed, falsely,



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  that Raman evidence was not available in Aurobindo, and that this evidence was

  worthy of a trial even though Reckitt had determined that Raman evidence “in no

  way” informed the infringement issues under the ’032 and ’821 constructions.

  IV.   Reckitt should have withdrawn its DOE theory in this case after it did
        so as a matter of law in Aurobindo.
        Reckitt claims it was reasonable to proceed to trial on a DOE theory because

  “Defendants conceded that their products met two of the three prongs, namely the

  function and result prongs.” D.I. 233 at 15. But one key problem with this

  argument is that Reckitt came to the conclusion in Aurobindo that it had no legal

  basis for relying on the DOE in view of the Court’s claim construction.

        In Aurobindo, Reckitt abandoned its DOE arguments because it concluded,

  as a matter of law, that Judge Stark’s claim construction did not allow it to argue

  that a single formulation was equivalent to two distinct formulations. See DI. 224

  at 24-25. Reckitt now suggests that this decision was “premised on the fact that

  Reckitt had no structural data [in Aurobindo] to show two formulations were

  ‘distinct, identifiable and separate to some degree.’” D.I. 233 at 34. In contrast,

  Reckitt claims that the Raman data here allowed Dr. Davies to show that there

  were equivalent IR and SR portions in Defendants’ ANDA products.

        But this newly hatched argument ignores the fact that Reckitt did have

  Raman data in Aurobindo that was substantially similar to the data that Reckitt

  presented in this case. More importantly, there is not a shred of record support for


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  Reckitt’s new argument. To the contrary, the record shows that Reckitt dropped its

  DOE case in Aurobindo as a matter of law based on its understanding of Judge

  Stark’s claim construction order: “Us dropping Doctrine of Equivalents is a

  recognition that either they have two distinct formulations or they don’t. We can’t

  use Doctrine of Equivalents to say what they’re doing still satisfies the two

  formulation requirements. . . . “We can’t use the doctrine of equivalents, as we

  understand the law, to get around that requirement.” See Aurobindo SJ Tr. at 46.

  Thus, Reckitt’s spin on why it withdrew its DOE case in Aurobindo is wrong.5

  V.    Conclusion

        For the foregoing reasons, as well as those set forth in Defendants’ opening

  brief, Defendants respectfully urge the Court to declare this case exceptional and

  award Defendants their attorney’s fees under 35 U.S.C. §285. Defendants note that

  Reckitt has not challenged the amount or reasonableness of the attorneys’ fees

  Defendants seek. Accordingly, the Court should award the full amount of

  attorneys’ fees that the Defendants request.




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   Reckitt also suggests that its DOE case was reasonable because “this Court found
  that the ’252 patent disclaimer did not apply to the ’032 patent and ’821 patent.”
  Id. at 35. There is no basis in the record for this argument. Indeed, the Court made
  no such finding and never issued an opinion explaining its decision to deny
  Defendants’ disclaimer motion.

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   Dated: February 1, 2019                    Respectfully submitted,

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